      Case 2:14-cr-00168-TOR            ECF No. 1756         filed 09/20/16      PageID.8523 Page 1 of 2
Fr PROB 12C                                                                         Report Date: September 20, 2016
(6/16)

                                        United States District Court                                    FILED IN THE
                                                                                                    U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON

                                                        for the
                                                                                               Sep 20, 2016
                                         Eastern District of Washington                            SEAN F. MCAVOY, CLERK



                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Anthony E. Wright                         Case Number: 0980 2:14CR00168-TOR-18
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: September 23, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison - 6 months                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     George J. C. Jacobs, III           Date Supervision Commenced: January 11, 2016
 Defense Attorney:        Virginia Rockwood                  Date Supervision Expires: January 10, 2019


                                          PETITIONING THE COURT

                  To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

              1         Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: Anthony Wright violated the terms of his supervised release on or
                        about August 22, 2016, by being cited for misdemeanor possession of stolen property in
                        violation of Idaho criminal code 18-2403(4).
              2         Standard Condition # 1: The defendant shall not leave the judicial district without the
                        permission of the court or probation officer.

                        Supporting Evidence: Anthony Wright violated the terms of his supervised release on or
                        about August 22, 2016, by leaving the judicial district and entering into the District of Idaho
                        without permission.
              3         Standard Condition # 9: The defendant shall not associate with any persons engaged in
                        criminal activity, and shall not associate with any person convicted of a felony, unless
                        granted permission to do so by the probation officer.
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                     Supporting Evidence: Anthony Wright violated the terms of his supervised release on or
                     about August 22, 2016, by associating with an individual engaged in criminal activity who
                     has also been convicted of a felony.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.

                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:     September 20, 2016
                                                                          s/Melissa Hanson
                                                                          Melissa Hanson
                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [X ]     The Issuance of a Summons
 [ ]      Other

                                                                          Signature of Judicial Officer

                                                                          September 20, 2016
                                                                          Date
